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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION

In re:                                            )      Chapter 7
Robert B. Norland,                                )
Kimberly L. Norland                               )      Case No.      17-10785-SDB
       Debtors,                                   )
_________________________________________         )
                                                  )
Joseph E. Mitchell, III, Chapter 7 Trustee        )
For Robert B. Norland & Kimberly L. Norland       )      Adversary Proceeding
       Plaintiff,                                 )      No. 18-01011-SDB
v.                                                )
Brickyard Holdings, LLC                           )
       Defendant.                                 )
                                                  )

                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day served a copy of the foregoing
CORRECTED EXHIBITS TO COMPLAINT upon the below-named parties by depositing true
and accurate copies of the same into the United States Mail, with proper postage affixed and
addressed as follows:

                                  Brickyard Holdings, LLC
               c/o its Manager and Registered Agent for Service, Scott Seymour
                                     7401 Graham Road
                                  Fairburn, Georgia, 30213

       This 10th day of July, 2018.



                                                  /s/ James S.V. Weston
                                                  James S.V. Weston
                                                  Georgia State Bar No.: 750251
                                                  Attorney for Plaintiff

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